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Case 4:20-cv-00341-CVE-SH Document 122 Filed in USDC ND/OK on 07/18/22 Page 2 of 15
Case 4:20-cv-00341-CVE-SH Document 122 Filed in USDC ND/OK on 07/18/22 Page 3 of 15
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             APPENDIX OF EXHIBITS TO DECLARATION OF PAUL LEVY


                     EXHIBIT NO.          DOCUMENT DESCRIPTION
                                              2013-05-31 - GWACS-
                                          Brownells Mutual Nondisclosure
                          1
                                                    Agreement

                                              2016-01-24 - GWACS-
                                          Brownells Mutual Nondisclosure
                          2
                                                    Agreement

                                            2020-04-21 Email Exchange
                          3                 between Phagan and Levy re
                                                 Cease and Desist




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Case 4:20-cv-00341-CVE-SH Document 122 Filed in USDC ND/OK on 07/18/22 Page 5 of 15




                 Exhibit 1
           2013-05-31 - GWACS-
             Brownells Mutual
          Nondisclosure Agreement
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                                   EXHIBIT 4                         KEA000044
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Case 4:20-cv-00341-CVE-SH Document 122 Filed in USDC ND/OK on 07/18/22 Page 7 of 15




                                   EXHIBIT 4                         KEA000045
Case 4:20-cv-00341-CVE-FHM Document 2-4 Filed in USDC ND/OK on 07/15/20 Page 3 of 3
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                                   EXHIBIT 4                         KEA000046
Case 4:20-cv-00341-CVE-SH Document 122 Filed in USDC ND/OK on 07/18/22 Page 9 of 15




                 Exhibit 2
           2016-01-24 - GWACS-
             Brownells Mutual
          Nondisclosure Agreement
Case 4:20-cv-00341-CVE-FHM Document 2-5 Filed in USDC ND/OK on 07/15/20 Page 1 of 3
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                                   EXHIBIT 5                          KEA000047
Case 4:20-cv-00341-CVE-FHM Document 2-5 Filed in USDC ND/OK on 07/15/20 Page 2 of 3
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                                   EXHIBIT 5                          KEA000048
Case 4:20-cv-00341-CVE-FHM Document 2-5 Filed in USDC ND/OK on 07/15/20 Page 3 of 3
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                                   EXHIBIT 5                          KEA000049
Case 4:20-cv-00341-CVE-SH Document 122 Filed in USDC ND/OK on 07/18/22 Page 13 of 15




                 Exhibit 3
        2020-04-21 Email Exchange
        between Phagan and Levy re
             Cease and Desist
Case 4:20-cv-00341-CVE-SH Document 122 Filed in USDC ND/OK on 07/18/22 Page 14 of 15
Case 4:20-cv-00341-CVE-SH Document 122 Filed in USDC ND/OK on 07/18/22 Page 15 of 15
